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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA

  AMERICAN-ARAB ANTI-                           )
  DISCRIMINATION COMMITTEE,                     )
                                                )
        Plaintiff,                              )
                                                )
  v.                                            )
                                                )     Civil Action No.: 1:17-cv-00708
  U.S. CUSTOMS AND BORDER                       )
  PROTECTION,                                   )
                                                )
        Defendant.                              )


          PLAINTIFF’S UNOPPOSED MOTION TO STAY BRIEFING DEADLINES


       Plaintiff hereby respectfully moves for an Order staying all briefing deadlines in

this case. The requested stay of proceedings will permit the parties, through their

respective counsel, to continue to pursue discussions that may narrow, if not eliminate,

the issues before this Court on summary judgment.

       Counsel for the Plaintiff has conferred with counsel for the Defendant, who

indicated this Motion is unopposed.


Date: March 22, 2018                     Respectfully submitted,

                                         /s/ R. Andrew Free___________
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